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     1               UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
     2                     EASTERN DIVISION
     3
            IN RE: NATIONAL                 )
     4      PRESCRIPTION                    )   MDL No. 2804
            OPIATE LITIGATION               )
     5      _____________________           )   Case No.
                                            )   1:17-MD-2804
     6                                      )
            THIS DOCUMENT RELATES           )   Hon. Dan A.
     7      TO ALL CASES                    )   Polster
     8
                          THURSDAY, JULY 19, 2018
     9
            HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10               CONFIDENTIALITY REVIEW
    11                        – – –
    12              Videotaped deposition of Gary L.
    13    Boggs, held at the offices of The Cochran
    14    Firm, D.C., 1100 New York Avenue, NW, Suite
    15    340, Washington, DC, commencing at 9:05 a.m.,
    16    on the above date, before Carrie A. Campbell,
    17    Registered Diplomate Reporter and Certified
    18    Realtime Reporter.
    19
    20
    21                                – – –
    22
                      GOLKOW LITIGATION SERVICES
    23             877.370.3377 ph | 917.591.5672 fax
                            deps@golkow.com
    24
    25

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    19          Cephalon, Inc., Watson Laboratories,
                Inc., Actavis LLC, Actavis Pharma,
    20          Inc., f/k/a Watson Pharma, Inc.
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     1

          VIDEOGRAPHER:
     2             DANIEL HOLMSTOCK,
                   Golkow Litigation Services
     3

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     1                       VIDEOGRAPHER:        We are now on
     2             the record.       My name is Daniel
     3             Holmstock.       I'm the videographer for
     4             Golkow Litigation Services.
     5                       Today's date is July 19, 2018,
     6             and the time is 9:05 a.m.             This video
     7             deposition is being held at the law
     8             offices of The Cochran Firm at 1100
     9             New York Avenue, Northwest, Suite 340,
    10             in Washington, DC, in the matter of
    11             In Re: National Prescription Opiate
    12             Litigation.       It's pending before the
    13             United States District Court for the
    14             Northern District of Ohio, Eastern
    15             Division.
    16                       Our deponent today is Mr. Gary
    17             Boggs.
    18                       Will counsel present please
    19             identify themselves and whom they
    20             represent.
    21                       MR. HAWAL:       William Hawal for
    22             plaintiffs.
    23                       MR. MOYLAN:       Daniel Moylan,
    24             Zuckerman Spaeder, for CVS.
    25                       MR. LIVINGSTON:         Scott

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     1             Livingston for defendant HBC.
     2                       MS. MCCLURE:       Shannon McClure,
     3             Reed Smith, AmerisourceBergen Drug
     4             Corporation.
     5                       MR. WEEKS:       Paul Weeks,
     6             Kirkland & Ellis, for Allergan
     7             Finance.
     8                       MR. RICARD:       Paul Ricard,
     9             Prescription Supply, Inc.
    10                       MS. CHARLES:       Amber Charles
    11             from Covington for McKesson as well as
    12             the witness Gary Boggs.
    13                       MR. STANNER:       Andrew Stanner
    14             from Covington on behalf of McKesson.
    15                       MS. CONWAY:       Sarah Conway from
    16             Jones Day for Walmart.
    17                       MR. CELLA:       John Cella from
    18             Arnold & Porter for Endo and Par.
    19                       MS. MCNAMARA:        Colleen McNamara
    20             from Williams & Connolly for Cardinal
    21             Health.
    22                       VIDEOGRAPHER:        Via telephone?
    23                       MR. LADD:      Matthew Ladd of
    24             Morgan Lewis representing Rite Aid.
    25                       MS. DUDZINSKI:        Jane Dudzinski

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      1             of Morgan Lewis representing
      2             Defendants Cephalon, Teva, USA,
      3             Actavis, LLC, Actavis Pharma, and
      4             Watson Laboratories.
      5                       MR. AUBEL:       Bill Aubel of
      6             Jackson Kelly representing
      7             Miami-Luken, Inc.
      8                       MR. RAFFERTY:         Troy Rafferty on
      9             behalf of the PEC.
     10                       MS. FOSTER:        Sarah Foster from
     11             Morgan & Morgan for plaintiff.
     12                       VIDEOGRAPHER:         If there's no
     13             other present, the court reporter is
     14             Carrie Campbell, who will now
     15             administer the oath.
     16

     17                             GARY L. BOGGS,
     18    of lawful age, having been first duly sworn
     19    to tell the truth, the whole truth and
     20    nothing but the truth, deposes and says on
     21    behalf of the Plaintiffs, as follows:
     22

     23                       DIRECT EXAMINATION
     24    QUESTIONS BY MR. HAWAL:
     25             Q.        Mr. Boggs, good morning.

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      1             A.        Good morning.
      2             Q.        Will you please state your full
      3    name?
      4             A.        Gary Lee Boggs.
      5             Q.        My name is Bill Hawal.             I'm
      6    here to take your deposition.
      7                       Have you ever had your
      8    deposition taken before?
      9             A.        I have.
     10             Q.        Approximately how many times?
     11             A.        Dozens.
     12             Q.        As you know, if at any time you
     13    don't understand my question or you need
     14    clarification, please let me know.
     15                       Is that agreeable?
     16             A.        I will.
     17             Q.        And if you need to go back
     18    during the course of this deposition to
     19    correct any answers, feel free to do that.
     20                       All right?
     21             A.        Thank you.
     22             Q.        At the conclusion of the
     23    deposition, I'm going to assume that you were
     24    able to understand my questions if you
     25    provided an answer.

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      1                       Is that fair?
      2             A.        It is.
      3             Q.        All right.       Who are you
      4    currently employed with?
      5             A.        I'm employed by McKesson
      6    Corporation.
      7             Q.        And how long have you been
      8    employed with McKesson?
      9             A.        I've been employed since
     10    November of 2013.
     11             Q.        All right.       And what position
     12    do you hold with McKesson?
     13             A.        I'm the senior director of
     14    regulatory affairs.
     15             Q.        And have you held that position
     16    the entire time that you've worked for
     17    McKesson?
     18             A.        I have.
     19             Q.        All right.       Can you describe
     20    for us the job responsibilities that you have
     21    in that capacity?
     22             A.        I can.
     23                       I'm responsible for managing
     24    the east region, which is, for the most part,
     25    essentially the -- well, east of the

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      1    Mississippi, the distribution centers that
      2    are located in that region, with the
      3    exception of the Chicago distribution center.
      4                       I have a team of about 13
      5    individuals that report either directly or
      6    indirectly to me that -- I'm responsible for
      7    overseeing the day-to-day implementation of
      8    our controlled substance monitoring program.
      9             Q.        All right.       Before you joined
     10    McKesson in November of 2013, did that job
     11    position exist at McKesson, to your
     12    knowledge?
     13             A.        It did not.
     14             Q.        All right.       It was created to
     15    accommodate your hiring?
     16             A.        It was created to accommodate
     17    an expansion or an evolution of our program,
     18    and there was more positions created.
     19             Q.        And who is your direct
     20    supervisor?        Who do you report to?
     21             A.        I report to the senior vice
     22    president of regulatory and compliance.
     23             Q.        And who would that be?
     24             A.        The position is vacant at the
     25    moment.

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      1             Q.        And how long has it been
      2    vacant, approximately?
      3             A.        The end of June of this year.
      4             Q.        And who occupied that position
      5    prior to June, end of June of this year?
      6             A.        Lina Brenner.
      7             Q.        And did she retire or did she
      8    leave for some other reason, if you know?
      9             A.        She left McKesson for
     10    another -- another job.
     11             Q.        And do you know where she is
     12    and who she is working for?
     13             A.        I do not.
     14             Q.        All right.       Is your job focused
     15    on efforts to have McKesson comply with laws
     16    and regulations which require it to maintain
     17    effective controls to prevent the diversion
     18    of controlled substances such as opioids into
     19    the illicit marketplace?
     20             A.        It is.
     21             Q.        All right.       And were you hired
     22    in 2013 because it was deemed that McKesson's
     23    performance in that capacity was lacking?
     24                       MR. STANNER:        Objection to the
     25             form.

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      1                       THE WITNESS:        I don't agree
      2             with the characterization of that, no.
      3    QUESTIONS BY MR. HAWAL:
      4             Q.        Why were you hired if it
      5    wasn't -- if it was up to -- up to par, if
      6    the performance was up to par in terms of
      7    that responsibility?
      8                       MR. STANNER:        Objection to the
      9             form.
     10                       THE WITNESS:        I believe that
     11             the company was expanding the
     12             positions in the regulatory compliance
     13             program, created that new position, I
     14             applied for it and was subsequently
     15             hired.
     16    QUESTIONS BY MR. HAWAL:
     17             Q.        Was it your job to try and
     18    improve the company's performance in terms of
     19    complying with the federal laws and
     20    regulations that relate to the diversion of
     21    controlled substances?
     22             A.        I believe that part of my job
     23    is to continually monitor the trends and make
     24    sure that our program is contemporary, yes.
     25             Q.        Well, do you believe that one

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      1    of your job responsibilities and goals was to
      2    improve on McKesson's performance in
      3    comparison to what it had been in the past in
      4    terms of preventing diversion and complying
      5    with federal laws and regulations?
      6             A.        I think that my job is to
      7    always look to -- ways to improve our
      8    program.
      9             Q.        Do you believe that your job --
     10    your hiring was intended to accommodate that
     11    or accomplish that?
     12             A.        I don't know what the
     13    individual's mind was when they decided to
     14    pick that position.
     15             Q.        Who hired you?
     16             A.        Don Walker.
     17             Q.        Is he still with the company?
     18             A.        He is not.
     19             Q.        And what was his position when
     20    you were hired in 2013?
     21             A.        He was the senior vice
     22    president of distribution operations for US
     23    pharma.
     24             Q.        As I understand it, prior to
     25    joining McKesson in 2013, you were an

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      1    employee of the Drug Enforcement Agency, DEA?
      2             A.        I was an employee of the Drug
      3    Enforcement Administration, yes.
      4             Q.        And for what period of time?
      5             A.        From 1985 until the end of June
      6    of 2012.
      7             Q.        And what positions had you held
      8    for the DEA?
      9             A.        I was -- throughout the entire
     10    time I was a special agent.               I held positions
     11    as a special agent, as a group supervisor, as
     12    a unit chief and as an executive assistant.
     13             Q.        And how long had you been an
     14    executive assistant?
     15             A.        I was an executive assistant
     16    beginning in January of 2016 until I retired
     17    from the Agency at the end of June of 2012.
     18             Q.        And who did you report to or
     19    who supervised you in that capacity?
     20             A.        Joseph Rannazzisi.




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      3             Q.        Have you met with other
      4    pharmaceutical distributors other than
      5    McKesson in your capacity as an executive
      6    assistant for DEA?
      7             A.        I believe I did, yes.
      8             Q.        Do you recall who -- what other
      9    companies you met with?
     10             A.        I believe I might have had a
     11    meeting with representatives from Cardinal.
     12    I don't recall any others.




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      2    QUESTIONS BY MR. HAWAL:
      3             Q.        You've been designated by
      4    McKesson's counsel to be a representative of
      5    the company for purposes of today's
      6    deposition as the person most knowledgeable
      7    concerning McKesson's interactions with the
      8    DEA regarding distribution of controlled
      9    substances, including compliance, regulatory
     10    and administrative actions, communications
     11    and penalties.
     12                       Do you understand that to be
     13    the case?
     14             A.        I do.
     15             Q.        And are you the person at
     16    McKesson that is most knowledgeable about
     17    those subject matters?
     18             A.        I believe I'm knowledgeable
     19    about them, yes.
     20             Q.        What did you do to become
     21    knowledgeable about those matters as it
     22    relates to what occurred at McKesson prior to
     23    you joining the company in November of 2013?
     24             A.        I've had meetings with counsel,
     25    preparation, to prepare myself.

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      1             Q.        What else have you done, if
      2    anything, to prepare yourself and become
      3    knowledgeable about those subjects prior to
      4    November of 2013?
      5             A.        I reviewed various documents,
      6    PowerPoint presentations.
      7             Q.        And documents relating to what
      8    time period?
      9             A.        I believe 2007 or so to the
     10    present.
     11             Q.        Did you review any documents
     12    that predated 2007?
     13             A.        I don't recall.
     14             Q.        Did you speak with anyone at
     15    McKesson about the subject matters in order
     16    to familiarize yourself with what had been
     17    occurring at McKesson prior to you joining
     18    the company?
     19             A.        I did not.
     20             Q.        What is the volume, approximate
     21    volume, of materials that you've reviewed?
     22             A.        There were several documents,
     23    PowerPoint presentations.              I'm not sure how
     24    to describe the volume.
     25             Q.        Well, you say "several

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      1    documents."        Is that more or less than five?
      2             A.        More.
      3             Q.        More or less than ten?
      4             A.        More.
      5             Q.        More or less than 20?
      6             A.        Probably more.
      7             Q.        More or less than 30?
      8             A.        I don't know at that point.
      9             Q.        Did you have any role in
     10    gathering those documents?
     11             A.        I did not.
     12             Q.        They were provided to you by
     13    counsel?
     14             A.        They were.




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     17             Q.        Were you involved -- you
     18    mentioned that you were part of one meeting
     19    in 2006 when you were with DEA, one meeting
     20    with McKesson.
     21                       Did you ever have any reason to
     22    correspond in writing with McKesson when you
     23    were a DEA employee?
     24             A.        I did not.
     25             Q.        Did you ever have any role in

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      1    creating or reviewing the content of any
      2    written communications on behalf of DEA that
      3    was sent to McKesson?
      4             A.        I did not.
      5             Q.        According to the Congressional
      6    record for the May 8, 2018 hearing of the
      7    Congressional Subcommittee on Oversight and
      8    Investigations relating to opioid -- the
      9    opioid epidemic and concerns about
     10    distribution and diversion, that there were
     11    meetings between DEA and McKesson in 2005 and
     12    2006.
     13                       Are you aware of that
     14    transcript or aware of that hearing
     15    referencing two meetings in 2005 and 2006?
     16             A.        I'm aware of the hearing, yes.
     17             Q.        All right.       Do you recall that
     18    there was reference to a meeting in 2005 and
     19    2006 between McKesson and DEA?
     20             A.        I do not recall that
     21    specifically from the hearing.
     22             Q.        You mentioned previously that
     23    you were part of the meeting in 2016.                    Do you
     24    recall that there was also a meeting in 2005
     25    between DEA and McKesson?

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      1             A.        I was not.       At the Drug
      2    Enforcement Administration, I was not in the
      3    Office of Diversion Control in 2005, so I'm
      4    not aware of that meeting.
      5             Q.        When did you become part of the
      6    Office of Diversion and Control?
      7             A.        January of 2006.
      8             Q.        Have you seen any records at
      9    McKesson that relate to a meeting in 2005
     10    with DEA?
     11             A.        Not that I recall.




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     20             Q.        What is diversion?
     21                       How do you define the term
     22    "diversion" as it relates to controlled
     23    substances?
     24             A.        I would define diversion as an
     25    act of removing controlled substances from

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      1    legitimate channels to illegitimate channels.
      2             Q.        And that -- was that something
      3    that the DEA was invested in trying to
      4    prevent in the early, mid and late 2000s?
      5                       MR. STANNER:        Objection to the
      6             form.
      7                       THE WITNESS:        It was.
      8    QUESTIONS BY MR. HAWAL:
      9             Q.        Were substantial efforts
     10    devoted to that goal?
     11                       MR. STANNER:        Objection to the
     12             form.     Objection to outside the scope
     13             of the notice.
     14                       THE WITNESS:        I believe that
     15             there were some -- a fair amount of
     16             efforts to try to deal with the scheme
     17             of rogue Internet pharmacies during
     18             that time frame.
     19    QUESTIONS BY MR. HAWAL:
     20             Q.        And those efforts were -- was
     21    it communicated to McKesson and other
     22    distributors at that time that the DEA was
     23    indeed focused upon that problem?
     24             A.        I believe that there were at
     25    least two letters written by Joseph

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      1    Rannazzisi that addressed that topic, yes.
      2             Q.        And were those letters directed
      3    to pharmaceutical distributors because it was
      4    well-recognized at that time that there was
      5    an ongoing opioid crisis across the United
      6    States?
      7             A.        I believe that it was
      8    recognized that there was a criminal scheme,
      9    the rogue Internet pharmacy schemes, and
     10    those efforts were trying to curb that and
     11    prevent that scheme from flourishing.
     12             Q.        Well, aside from there being a
     13    scheme, was there a recognized opioid crisis
     14    across the country that was resulting in
     15    addiction and fatalities?
     16                       MR. STANNER:        Objection to the
     17             form.     Objection to the notice.
     18                       THE WITNESS:        I believe that's
     19             the case, yes.
     20    QUESTIONS BY MR. HAWAL:
     21             Q.        When did DEA first recognize
     22    that there was an opioid crisis in the United
     23    States?
     24                       MR. STANNER:        Objection to the
     25             form.     Objection to the notice.

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      1                       THE WITNESS:        I believe that
      2             the opioid crisis -- the federal
      3             government recognized that through the
      4             CDC, not through the Drug Enforcement
      5             Administration.
      6    QUESTIONS BY MR. HAWAL:
      7             Q.        And when did you become aware
      8    that that was the fact?
      9                       MR. STANNER:        Objection to the
     10             form.     Objection to the notice.
     11                       THE WITNESS:        I don't recall
     12             specifically when they -- the CDC made
     13             that announcement.
     14    QUESTIONS BY MR. HAWAL:
     15             Q.        Well, do you recall generally
     16    was it prior to 2000 or shortly after the
     17    year 2000?
     18             A.        It was a fair amount after
     19    that.
     20             Q.        When you say "a fair amount,"
     21    what do you mean by that?
     22             A.        Several years.
     23             Q.        And were Mr. Rannazzisi's
     24    letters and the meetings that DEA had with
     25    McKesson and other distributors prompted by

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      1    DEA's recognition that the diversion of
      2    pharmaceutical opioids was occurring and
      3    contributing to the opioid crisis or
      4    epidemic?
      5                       MR. STANNER:        Objection to the
      6             form.     Objection.       Outside the scope
      7             of the notice.
      8                       THE WITNESS:        I think that that
      9             would be fair assessment, yes.
     10    QUESTIONS BY MR. HAWAL:




     20             Q.        Those were statements that were
     21    communicated to McKesson and other
     22    distributors by -- through Mr. Rannazzisi's
     23    letters, true?
     24                       MS. MCCLURE:        Objection to
     25             form.

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      1                       THE WITNESS:        Could you repeat
      2             the question?
      3    QUESTIONS BY MR. HAWAL:
      4             Q.        Yes.
      5                       Those concerns were
      6    communicated via Mr. Rannazzisi's letters to
      7    McKesson and other distributors, true?
      8                       MR. STANNER:        Objection to the
      9             form.
     10                       MS. MCCLURE:        Same.
     11                       MR. STANNER:        Objection to the
     12             notice.
     13                       THE WITNESS:        What concerns are
     14             you referring to?
     15    QUESTIONS BY MR. HAWAL:
     16             Q.        I'm referring to the concerns
     17    that McKesson and other distributors were not
     18    implementing effective controls in order to
     19    prevent the diversion of controlled
     20    substances into the illicit marketplace.
     21                       MR. STANNER:        Objection to the
     22             form.
     23                       THE WITNESS:        As I recall, the
     24             letters were a reminder to the
     25             distributors what their regulatory

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      1             obligations were in identifying and
      2             reporting suspicious orders.               And the
      3             letters also provided some guidance in
      4             terms of potential red flags that they
      5             should be aware of to look at in
      6             knowing their customer.
      7    QUESTIONS BY MR. HAWAL:
      8             Q.        Well, why was McKesson required
      9    to receive a reminder of its obligations?
     10                       MR. STANNER:        Objection to the
     11             form.
     12                       THE WITNESS:        Those letters
     13             were sent to all distributors, not
     14             just McKesson.
     15    QUESTIONS BY MR. HAWAL:
     16             Q.        Why were all distributors
     17    required -- or why did they require reminders
     18    of their obligations under federal law and
     19    regulations with respect to preventing the
     20    diversion of controlled substances?
     21                       MR. STANNER:        Objection to the
     22             form.
     23                       MS. MCCLURE:        Objection.
     24                       THE WITNESS:        I believe that
     25             during that time frame that the rogue

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      1             Internet pharmacy schemes were a
      2             relatively new scheme to both law
      3             enforcement and to the health care
      4             industry, and it was sent out as a
      5             reminder of potentially evolving red
      6             flags that they should be cognizant of
      7             in fulfilling their obligations to
      8             report suspicious orders.
      9    QUESTIONS BY MR. HAWAL:




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     21                       MS. MCCLURE:        And, Bill, while
     22             we're on just a quick pause, if I
     23             could just clarify through the record
     24             that an objection for one stands for
     25             an objection for all so I don't

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      1             keep --
      2                       MR. HAWAL:       No problem.
      3                       MS. MCCLURE:        -- interposing my
      4             objections unnecessarily.
      5                       MR. HAWAL:       Understood.        Thank
      6             you.
      7                       MS. MCCLURE:        Thank you.
      8    QUESTIONS BY MR. HAWAL:
      9             Q.        The DEA did not have a meeting
     10    with all distributors, true?
     11                       MR. STANNER:        Objection to
     12             form.
     13    QUESTIONS BY MR. HAWAL:
     14             Q.        In 2006?
     15                       MR. STANNER:        Objection to the
     16             form.     Objection to the notice.
     17                       THE WITNESS:        Not that I'm
     18             aware of.
     19    QUESTIONS BY MR. HAWAL:
     20             Q.        The meetings that you're aware
     21    of that occurred in 2006 were with --
     22    specifically with McKesson and Cardinal?
     23             A.        I don't recall specifically
     24    when the meeting with Cardinal was.                   It may
     25    have been 2006.          It may have been at another

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      1    time frame.
      2             Q.        All right.       But those are the
      3    only two meetings that you recall since you
      4    joined the Office of Diversion and Control?
      5                       MR. STANNER:        Objection to the
      6             form.
      7    QUESTIONS BY MR. HAWAL:
      8             Q.        In 2006 or thereabouts?
      9                       MR. STANNER:        Objection to the
     10             form.     Objection to the notice.
     11                       THE WITNESS:        There were
     12             meetings with other registrants.
     13             There were meetings with -- at that
     14             time what was HDMA, the health care
     15             industry trade -- or association.
     16             There were several meetings.
     17    QUESTIONS BY MR. HAWAL:
     18             Q.        What were the meetings with
     19    HDMA about?
     20                       MR. STANNER:        Objection to the
     21             form.     Objection.       Outside the scope
     22             of the notice.
     23                       THE WITNESS:        They were about a
     24             wide variety of different things.
     25             About attempts -- pending proposed

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      1             legislation, regulations, obtain --
      2             looking for clarity in the
      3             regulations.        Several different
      4             topics.
      5    QUESTIONS BY MR. HAWAL:
      6             Q.        Were most of the meetings in
      7    2006 that you were aware of focused primarily
      8    upon efforts to prevent diversion of
      9    controlled substances?
     10                       MR. STANNER:        Same objections.
     11                       THE WITNESS:        I would say -- in
     12             those particular instances, yes.
     13    QUESTIONS BY MR. HAWAL:




     25             Q.        And can you describe for us

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      1    what your understanding is of what a show
      2    cause order is?
      3             A.        A show cause order issued by
      4    the Drug Enforcement Administration is the
      5    beginnings of an administrative procedure
      6    against a registrant for the registrant to
      7    show why the registration should or should
      8    not be revoked.




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     16    QUESTIONS BY MR. HAWAL:
     17             Q.        You previously referred to
     18    letters by Joseph Rannazzisi, the Deputy
     19    Assistant Administrator of DEA's Office of
     20    Diversion Control, to McKesson.
     21                       Do you recall that?
     22             A.        I do.
     23             Q.        Was Mr. Rannazzisi at the time
     24    one of your supervisors?
     25             A.        He was my supervisor, yes.

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      1             Q.        And in 2006, he sent a letter
      2    to McKesson on September 27, 2006.
      3                       You're aware of that?
      4             A.        He sent that letter to all
      5    distributors.
      6             Q.        All right.       Including McKesson?
      7             A.        Including McKesson.
      8             Q.        And you've looked at that
      9    letter in preparation for your deposition
     10    today?
     11             A.        I have.
     12                       (McKesson-Boggs Exhibit 1
     13             marked for identification.)
     14    QUESTIONS BY MR. HAWAL:
     15             Q.        Sir, handing you what has been
     16    marked as Plaintiff's Exhibit 1 for purposes
     17    of your deposition is a four-page letter
     18    dated September 27, 2006, which is actually
     19    addressed to DBS Trading, Inc., in
     20    Cincinnati.
     21                       But do you recognize that this
     22    letter is, in fact, the same letter that
     23    would have gone out to all distributors at
     24    that time?
     25                       MR. STANNER:        Objection to the

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      1             form.
      2                       MS. MCCLURE:        Would you just
      3             mind making just a note perhaps of the
      4             Bates number on the document for
      5             purposes of the transcript so there's
      6             no --
      7                       MR. HAWAL:       Sure.      Well, this
      8             one does not have a Bates number.
      9             This is not part of the production.
     10                       MS. MCCLURE:        Okay.
     11    QUESTIONS BY MR. HAWAL:
     12             Q.        Have you had a chance to look
     13    at the letter?
     14             A.        I have.
     15             Q.        Do you recognize this letter as
     16    the letter that had gone out to all
     17    distributors from the DEA on September 27,
     18    2006?
     19             A.        I do.
     20             Q.        And this would have been a
     21    letter that would have been sent to and
     22    received by McKesson approximately at that
     23    time?
     24             A.        Around that time frame, yes.
     25             Q.        Were you aware at the time that

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      1    this letter was being sent?
      2             A.        I was.
      3             Q.        Did you have any involvement
      4    into its content?
      5                       MR. STANNER:        Objection.
      6             Outside the scope of the 30(b)(6)
      7             notice.
      8                       MR. HAWAL:       Excuse me, but
      9             before we go on, how can this be
     10             outside the scope since it's
     11             communication between DEA and
     12             McKesson?
     13                       MR. STANNER:        Sure.      And this
     14             deposition is a corporate deposition
     15             of him as a representative of
     16             McKesson.       So to the extent you're
     17             asking him to speak in his personal
     18             capacity about his time at DEA, I
     19             think it's outside the scope of this
     20             notice.      There will be a fact
     21             deposition.
     22                       MR. HAWAL:       Well, I'm simply
     23             trying to put things in context.
     24                       MR. STANNER:        I understand.
     25                       MR. HAWAL:       Okay.      Thank you.

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      1                       MR. STANNER:        I'm just trying
      2             to preserve the issues.
      3    QUESTIONS BY MR. HAWAL:
      4             Q.        I can't recall if you answered
      5    my question, but did you have any role in
      6    contributing to the content of this letter?
      7             A.        I did not.
      8             Q.        Was it -- did you see it before
      9    it was sent out?
     10                       MR. STANNER:        Same objection.
     11                       THE WITNESS:        I believe I did,
     12             yes.
     13    QUESTIONS BY MR. HAWAL:
     14             Q.        Did you have any disagreement
     15    with its content or make any recommendations
     16    to Mr. Rannazzisi as to any revisions to the
     17    letter?
     18                       MR. STANNER:        Same objections.
     19                       THE WITNESS:        Not that I
     20             recall.
     21    QUESTIONS BY MR. HAWAL:
     22             Q.        Do you recall whether or not
     23    this letter was prompted by DEA's frustration
     24    that certain distributors were not
     25    effectively preventing the diversion of

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      1    controlled substances, especially opioids, as
      2    required by the Controlled Substances Act?
      3                       MR. STANNER:        Objection to the
      4             form and the notice.
      5                       THE WITNESS:        I believe that it
      6             was sent out to help ensure that
      7             distributors were complying with their
      8             obligations in order to help prevent
      9             diversion.
     10    QUESTIONS BY MR. HAWAL:
     11             Q.        Was it also sent out because of
     12    DEA's recognition that certain distributors
     13    were not complying with their obligations
     14    under the law and federal regulations?
     15                       MR. STANNER:        Same objections.
     16                       THE WITNESS:        I believe that
     17             was the case, yes.
     18    QUESTIONS BY MR. HAWAL:
     19             Q.        And was that one of the reasons
     20    that it was sent to McKesson?
     21                       MR. STANNER:        Same objection.
     22                       THE WITNESS:        It wasn't
     23             specifically sent as being done
     24             specifically to McKesson or any other
     25             company.      It was done to send out to

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      1             all distributors as a reminder.
      2             McKesson was not a focus specifically
      3             for this letter to go out.               It was
      4             sent out to all distributors.
      5    QUESTIONS BY MR. HAWAL:




     12                       MR. STANNER:        Objection to the
     13             form.
     14    QUESTIONS BY MR. HAWAL:
     15             Q.        Given that scenario and those
     16    circumstances, was it your expectation or was
     17    it your understanding the DEA in sending this
     18    letter to McKesson was informing it of its
     19    obligations under the Controlled Substances
     20    Act because of the determination and finding
     21    that it had not been complying with its
     22    obligations?
     23                       MR. STANNER:        Objection to the
     24             form and notice.
     25                       THE WITNESS:        It was sent out

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      1             to all the distributors as a reminder
      2             of their obligations to help DEA in
      3             its efforts to prevent diversion of
      4             controlled substances.
      5    QUESTIONS BY MR. HAWAL:
      6             Q.        Do you believe that this letter
      7    should have informed McKesson during this
      8    time period of its obligations under the
      9    Controlled Substances Act with respect to the
     10    prevention of diversion of controlled
     11    substances?
     12                       MR. STANNER:        Continuing
     13             objections.
     14                       THE WITNESS:        I do.
     15    QUESTIONS BY MR. HAWAL:
     16             Q.        Did the DEA through this letter
     17    intend to communicate to distributors,
     18    including McKesson, some guidance on what
     19    circumstances may indicate diversion by a
     20    pharmacy customer to an illicit entity or
     21    person?
     22                       MR. STANNER:        Same objections.
     23                       THE WITNESS:        I do.
     24    QUESTIONS BY MR. HAWAL:
     25             Q.        In this September of 2006

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      1    letter, did Mr. Rannazzisi also warn
      2    distributors, including McKesson, that if
      3    they failed to comply with their legal
      4    obligation to effectively prevent diversion,
      5    that they could be the subject of criminal
      6    and civil penalties?
      7                       MR. STANNER:        Same objections.
      8                       THE WITNESS:        I believe that's
      9             the case, yes.
     10    QUESTIONS BY MR. HAWAL:
     11             Q.        And just one distributor that
     12    uses its DEA registration to facilitate
     13    diversion can cause enormous harm, true?
     14                       MR. STANNER:        Same objections.
     15                       THE WITNESS:        It would depend
     16             on the facts and circumstances.
     17    QUESTIONS BY MR. HAWAL:
     18             Q.        Well, that's what
     19    Mr. Rannazzisi pointed out to the
     20    distributors via this letter, true?
     21             A.        That's what's in the letter,
     22    yes.
     23             Q.        And did Mr. Rannazzisi find it
     24    necessary to follow up with another letter to
     25    distributors on December 27, 2007?

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      1                       MR. STANNER:        Objection to the
      2             form.     Objection to the notice.
      3                       THE WITNESS:        I'm aware of that
      4             letter, yes.
      5                       (McKesson-Boggs Exhibit 2
      6             marked for identification.)
      7    QUESTIONS BY MR. HAWAL:
      8             Q.        Sir, handing you what has been
      9    marked as Exhibit 2 for purposes of your
     10    deposition is a letter dated December 27,
     11    2007, this time directed to Masters
     12    Pharmaceutical, Inc.
     13                       Do you recognize this letter?
     14             A.        I do.
     15             Q.        And is this a letter that would
     16    have been sent to all pharmaceutical
     17    distributors at or around December 27, 2007?
     18                       MR. STANNER:        Objection to the
     19             form.
     20                       THE WITNESS:        It would have.
     21    QUESTIONS BY MR. HAWAL:
     22             Q.        And it would have been sent to
     23    and received by McKesson at or around this
     24    time frame?
     25             A.        That's correct.

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      1             Q.        Was it determined at DEA that
      2    it was necessary, again, to remind
      3    distributors, including McKesson, of their
      4    legal obligations under the Controlled
      5    Substances Act to maintain effective controls
      6    against the diversion of controlled
      7    substances?
      8                       MR. STANNER:        Objection to the
      9             form.
     10                       THE WITNESS:        It was.
     11    QUESTIONS BY MR. HAWAL:
     12             Q.        Why?
     13             A.        There was a --
     14                       MR. STANNER:        Objection to the
     15             form.     Objection.       Outside the scope
     16             of the notice.
     17                       THE WITNESS:        During this time
     18             frame, there was a continual problem
     19             with the rogue Internet pharmacies and
     20             we wanted to try to help prevent
     21             diversion emanating out of that
     22             particular scheme.           And we wanted to
     23             continue reminding the registrants who
     24             were supplying these pharmacies of
     25             their obligations in order to help

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      1             stem the tide against those
      2             distributions.
      3    QUESTIONS BY MR. HAWAL:




     20                       (McKesson-Boggs Exhibit 3
     21             marked for identification.)
     22    QUESTIONS BY MR. HAWAL:
     23             Q.        Sir, I'm handing you what I've
     24    marked as Plaintiff's Exhibit 3 for purposes
     25    of this deposition.

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      1                       Is that the settlement and
      2    release agreement that was entered into
      3    between McKesson and the Department of
      4    Justice and the DEA?
      5                       MS. MCCLURE:        While Mr. Boggs
      6             is reading that, would you please
      7             indicate for the record the Bates
      8             number that appears on the first page
      9             of the document?
     10                       MR. HAWAL:       I am sorry.        Bates
     11             number is MCKMDL00409289.
     12                       MS. MCCLURE:        Thank you.
     13    QUESTIONS BY MR. HAWAL:
     14             Q.        Sir, is this the settlement
     15    agreement that was entered into at that time?
     16             A.        I believe it is, yes.
     17             Q.        And McKesson agreed to pay a
     18    fine of $13,250,000 as a part of that
     19    settlement?
     20             A.        It did.
     21             Q.        In addition, McKesson agreed to
     22    institute a compliance program to detect and
     23    prevent diversion of controlled substances?
     24             A.        That was part of the agreement,
     25    yes.

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      1             Q.        Is that program described as
      2    the -- is it described in a compliance
      3    addendum?
      4             A.        I believe it is.
      5                       (McKesson-Boggs Exhibit 4
      6             marked for identification.)
      7    QUESTIONS BY MR. HAWAL:
      8             Q.        Sir, handing you what's been
      9    marked as Exhibit 4.            Feel free to take a
     10    look at it and ask you whether or not you
     11    recognize that as a true and accurate copy of
     12    the compliance addendum that was entered
     13    into, which does not have a Bates number?
     14             A.        This is not a compliance
     15    addendum from 2008.
     16             Q.        When is it?        When is that one?
     17             A.        This is the most recent one.
     18             Q.        And when was the most recent
     19    one entered?
     20             A.        It was -- we signed on
     21    January 17, 2017.
     22             Q.        What were the general terms or
     23    provisions of the compliance addendum in
     24    2008?
     25             A.        There was an agreement to

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      1    maintain effective controls against
      2    diversion, a controlled substances monitoring
      3    program, and it outlines that agree -- in the
      4    agreement.
      5             Q.        And did the DEA communicate to
      6    McKesson at that time that it intended or
      7    expected McKesson to comply with the terms of
      8    that addendum agreement and its new CSMP?
      9             A.        I believe that's the case, yes.




     19             Q.        And as a part of that
     20    settlement, did McKesson promise that it
     21    would discharge its legal obligations
     22    regarding the prevention of the diversion of
     23    controlled substances?
     24             A.        I believe that to be part of
     25    the terms of the agreement, yes.

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      1             Q.        And that would apply to all of
      2    its distribution centers?
      3             A.        All of the distribution centers
      4    that handled controlled substances, yes.




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      2    QUESTIONS BY MR. HAWAL:
      3             Q.        In terms of the expectations
      4    that were communicated to McKesson as a part
      5    of this settlement in 2008, do you have any
      6    basis to say that McKesson would not have
      7    been clearly informed of what its obligations
      8    were as a part of that settlement in terms of
      9    the prevention of diversion of pharmaceutical
     10    controlled substances, including opioids?
     11                       MR. STANNER:        Objection to the
     12             form.
     13                       THE WITNESS:        I think that they
     14             were informed as to what the terms of
     15             the agreement were and what their
     16             obligations were as a registrant.
     17    QUESTIONS BY MR. HAWAL:




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     17    QUESTIONS BY MR. HAWAL:
     18             Q.        During that time period, from
     19    2008 to 2013, were most of the communications
     20    on behalf of the DEA to McKesson about its
     21    failure to adhere to the 2008 settlement
     22    agreement and its own CSMP communicated
     23    through the US Department of Justice?
     24                       MR. STANNER:        Objection to the
     25             form.

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      1                       THE WITNESS:        Could you --
      2             could you repeat the question?
      3                       MR. STANNER:        Counsel, just not
      4             to interrupt you, it's been going
      5             about an hour, so when you hit a
      6             decent point.
      7                       MR. HAWAL:       Well, let me just
      8             finish up this question.
      9                       MR. STANNER:        Of course, yeah.
     10    QUESTIONS BY MR. HAWAL:




     21                       MR. HAWAL:       Take a break.
     22                       VIDEOGRAPHER:         The time is
     23             10:04 a.m., and we're going off the
     24             record.
     25              (Off the record at 10:04 a.m.)

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      1                       VIDEOGRAPHER:         The time is
      2             10:18 a.m., and we're back on the
      3             record.
      4    QUESTIONS BY MR. HAWAL:




     17                       (McKesson-Boggs Exhibit 5
     18             marked for identification.)
     19    QUESTIONS BY MR. HAWAL:
     20             Q.        Sir, handing you what has been
     21    marked as Plaintiff's Exhibit 5 bearing Bates
     22    number 00409224.
     23                       Have you seen this -- has this
     24    letter made its way to you following its
     25    receipt by McKesson's counsel from the

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      1    Department of Justice?
      2                       MR. STANNER:        For the record,
      3             this is Bates number MCKMDL00409224.
      4                       MR. HAWAL:       Oh, I'm sorry.          I
      5             was looking at the wrong page.
      6                       THE WITNESS:        I've seen this
      7             document, yes.
      8    QUESTIONS BY MR. HAWAL:




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     15                       MR. STANNER:        So, Counsel, just
     16             to clarify for the record --
     17                       MR. HAWAL:       I'm sorry.
     18                       MR. STANNER:        -- your version
     19             of this document is double-sided and
     20             the exhibit that we have is
     21             single-sided, so we don't have
     22             even-numbered pages.
     23                       MR. HAWAL:       Let me do this.
     24             Let's take a break.
     25                       MR. STANNER:        To clarify, I

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      1             think we have all the pages.               I think
      2             they're just numbered differently.
      3                       MR. HAWAL:       Ah.     Okay.
      4    QUESTIONS BY MR. HAWAL:
      5             Q.        Sir, do you have a page 15?
      6             A.        I don't have a page 14.             I have
      7    a page 15.
      8             Q.        All right.       Well, I'm going to
      9    refer you to page 15.
     10             A.        Okay.
     11             Q.        Very last sentence.
     12                       MR. STANNER:        And the Bates
     13             numbers are correct, so maybe just use
     14             the Bates numbers instead of page
     15             numbers.
     16    QUESTIONS BY MR. HAWAL:




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     12                       THE WITNESS:        I do not have
     13             that page.
     14                       MR. HAWAL:       You don't?
     15                       MR. STANNER:        No, we do not
     16             have -- so maybe the Bates numbers are
     17             not consistent.          It doesn't appear the
     18             letter has all of the substance.                 So
     19             if you want to take a break, we can
     20             take a break.
     21                       VIDEOGRAPHER:         Off the record,
     22             Counsel?
     23                       MR. HAWAL:       Let me do this.
     24             Let me just try and make this simpler.
     25

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      1    QUESTIONS BY MR. HAWAL:
      2             Q.        Reading from page 16, which is
      3    00409239 -- I'm going to pass it to you after
      4    I ask the question.
      5             A.        Okay.
      6             Q.        So --
      7                       MR. STANNER:        Actually,
      8             maybe -- I'm sorry, Counselor, and I
      9             really don't mean to interrupt you,
     10             but since this is the exhibit, maybe
     11             we can work from the exhibit version
     12             which is different -- numbered
     13             differently.
     14                       MR. HAWAL:       Let me see if it
     15             corresponds with what I have.
     16                       Let's take a break.
     17                       MR. STANNER:        Sure.
     18                       VIDEOGRAPHER:         The time is
     19             10:28 a.m., and we're going off the
     20             record.
     21              (Off the record at 10:28 a.m.)
     22                       VIDEOGRAPHER:         The time is
     23             10:31 a.m., and we're back on the
     24             record.
     25

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      1    QUESTIONS BY MR. HAWAL:




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     19    QUESTIONS BY MR. HAWAL:
     20             Q.        And in response to these
     21    charges, McKesson agreed in April of 2015 to
     22    pay a $150 million penalty, true?
     23             A.        It was part of the settlement
     24    agreement, yes.
     25             Q.        And did it agree again to

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      1    change its practices regarding the prevention
      2    of diversion of prescription opioids?
      3             A.        I believe that was the case,
      4    yes.
      5             Q.        Did you agree that changes were
      6    warranted?
      7                       MR. STANNER:        Objection to the
      8             form.     Objection.       Outside the scope
      9             of the notice.
     10                       THE WITNESS:        I would agree
     11             that McKesson was evolving their
     12             program to be contemporary with
     13             today's environment and laws and
     14             regulations.
     15    QUESTIONS BY MR. HAWAL:
     16             Q.        Well, while McKesson may have
     17    been evolving its programs, the law wasn't
     18    evolving, was it?
     19                       MR. STANNER:        Objection to the
     20             form.
     21    QUESTIONS BY MR. HAWAL:
     22             Q.        The legal responsibilities that
     23    McKesson had were consistent from, when,
     24    1970, to the present day?
     25                       MR. STANNER:        Objection to the

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      1             form.     Objection.       Outside the scope
      2             the scope.
      3                       MR. HAWAL:       Well, I'm
      4             responding to his answer.
      5                       Go ahead.
      6                       THE WITNESS:        The laws were,
      7             but there were different diversion
      8             trends that occurred that in and of
      9             themselves had different red flags
     10             that required evolution and -- to stay
     11             contemporary with those evolving
     12             trends.
     13    QUESTIONS BY MR. HAWAL:
     14             Q.        Well, the evolution of
     15    McKesson's adherence to the laws went from
     16    requiring a fine of 13 million in 2008 to a
     17    fine of 150 million in 2014 because of its
     18    failures to adhere to the terms of a
     19    settlement agreement and the promises that it
     20    made to the Drug Enforcement Administration
     21    and the Department of Justice, true?
     22                       MR. STANNER:        Objection to the
     23             form.
     24                       THE WITNESS:        I believe that
     25             they were two different settlement

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      1             agreements that involved two different
      2             sets of circumstances.
      3    QUESTIONS BY MR. HAWAL:
      4             Q.        Well, we agree that McKesson
      5    made promises to the Department of Justice in
      6    2008, true?
      7             A.        It entered into a settlement
      8    agreement that had various terms of that
      9    settlement agreement, yes.
     10             Q.        Terms that McKesson promised it
     11    would adhere to as a part of its settlement
     12    of the charges that were brought against it
     13    by the Department of Justice in 2008 and
     14    before, true?
     15                       MR. STANNER:        Objection to the
     16             form.
     17                       THE WITNESS:        I believe that's
     18             the case, yes.
     19    QUESTIONS BY MR. HAWAL:




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      5    QUESTIONS BY MR. HAWAL:
      6             Q.        Were you proud of the work that
      7    the DEA was doing between 2006 and the time
      8    that you left the DEA as it related to
      9    efforts to prevent the diversion of opioids
     10    and to try and reign in the opioid crisis?
     11                       MR. STANNER:        Objection.
     12             Outside the scope of the 30(b)(6)
     13             notice.
     14                       THE WITNESS:        I have been proud
     15             of the work that I've done at the DEA
     16             throughout the course of my entire
     17             career.
     18    QUESTIONS BY MR. HAWAL:
     19             Q.        And some of the work that you
     20    were directed to do, at least during that
     21    time period, related to efforts to prevent
     22    the diversion of opioid pharmaceutical
     23    products into the illicit marketplace, true?
     24                       MR. STANNER:        Same objection.
     25                       THE WITNESS:        That would be

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      1             true, yes.
      2    QUESTIONS BY MR. HAWAL:
      3             Q.        Since 2014 -- well, since --
      4    since you started with McKesson, have you had
      5    any interactions with your former colleagues
      6    that were involved in the investigation of
      7    McKesson between 2008 and 2013 --
      8                       MR. STANNER:        Objection to the
      9             form.
     10    QUESTIONS BY MR. HAWAL:
     11             Q.        -- such as Mr. Rannazzisi?
     12                       MR. STANNER:        Objection to the
     13             form.
     14                       THE WITNESS:        I did not have
     15             interactions with Mr. Rannazzisi
     16             regarding the most recent settlement.
     17    QUESTIONS BY MR. HAWAL:
     18             Q.        Well, have you spoken to him at
     19    all between the point in time when you
     20    started with McKesson until today?
     21             A.        I have.
     22             Q.        Under what circumstances?
     23             A.        Just personal time, you know.
     24             Q.        You still consider him a
     25    friend?

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      1                       MR. STANNER:        Objection to the
      2             form.
      3                       THE WITNESS:        I do.
      4    QUESTIONS BY MR. HAWAL:
      5             Q.        What about David Schiller, have
      6    you spoken with him?
      7                       MR. STANNER:        Objection.
      8             Outside the scope of the notice.
      9                       THE WITNESS:        I believe the
     10             last time I spoke with him was at a
     11             presentation that McKesson gave
     12             regarding its controlled substances
     13             monitoring program.
     14    QUESTIONS BY MR. HAWAL:
     15             Q.        Did you ever communicate with
     16    either of them since you joined McKesson that
     17    in your view McKesson's anti-diversion
     18    efforts prior to 2013 were woefully
     19    inadequate or words to that effect?
     20             A.        I did not.
     21             Q.        You deny doing so?
     22             A.        Absolutely.
     23             Q.        Are you familiar with the term
     24    "drug diversion migration"?
     25                       MR. STANNER:        Objection.

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      1             Outside the scope of the notice.
      2                       THE WITNESS:        No.
      3    QUESTIONS BY MR. HAWAL:
      4             Q.        You're not familiar with the
      5    term "drug migration"?
      6                       MR. STANNER:        Same objection.
      7                       THE WITNESS:        No, I'm not.
      8                       MR. STANNER:        And objection to
      9             the form.
     10    QUESTIONS BY MR. HAWAL:
     11             Q.        Has McKesson ever discussed
     12    with DEA the subject of drug diversion or
     13    drug -- not drug diversion, but drug
     14    migration?
     15             A.        I'm not sure what context
     16    you're defining drug migration.
     17                       (McKesson-Boggs Exhibit 6
     18             marked for identification.)
     19    QUESTIONS BY MR. HAWAL:
     20             Q.        I'm handing you what I've
     21    marked as Plaintiff's Exhibit 6.                  It appears
     22    to be a PowerPoint presentation of McKesson
     23    dated 2014 entitled "Prescription Drug Abuse,
     24    The National Perspective," 00407451.
     25                       Have you ever seen this

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      1    PowerPoint presentation or a printed version
      2    of it as you're looking at today?
      3                       MR. STANNER:        So, Counsel, just
      4             again, I think we're skipping Bates
      5             numbers on this version of the
      6             document.
      7                       MR. HAWAL:       Great.
      8                       MR. STANNER:        Maybe we should
      9             check.
     10                       MR. HAWAL:       Well, I'm only
     11             going to go to one page.
     12                       MR. STANNER:        But I just don't
     13             know if he has the entire document.
     14                       MR. HAWAL:       What's that?
     15                       MR. STANNER:        I don't know that
     16             he has the entire document.
     17                       MR. HAWAL:       I understand.
     18             Well, I will substitute it at the
     19             conclusion of the deposition, but...
     20    QUESTIONS BY MR. HAWAL:
     21             Q.        Do you have 00407465?
     22             A.        I do.
     23             Q.        It appears you do.
     24                       Have you ever seen this
     25    document or that page 00407465?

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      1             A.        I've seen the document.             I
      2    don't recall specifically the page you're
      3    referring to.
      4             Q.        Well, in what context would you
      5    have seen this document?
      6                       MR. STANNER:        Just for the
      7             record, an objection to Exhibit 6 is
      8             it's incomplete.
      9                       THE WITNESS:        I don't recall
     10             what context I would have seen it.
     11    QUESTIONS BY MR. HAWAL:
     12             Q.        Do you know if you would have
     13    had any role in preparing it?
     14             A.        I believe I may have, yes.




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     15    QUESTIONS BY MR. HAWAL:
     16             Q.        Did you have any role in
     17    studying this issue at McKesson?
     18             A.        I did not.
     19             Q.        Did you or any other McKesson
     20    employee, to your knowledge, attend a DEA
     21    distributors conference in Indianapolis on
     22    May 10th and May 11, 2016?
     23             A.        I believe someone from McKesson
     24    would have attended that, yes.
     25             Q.        Have you seen any documents

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      1    that were generated as a result of that
      2    attendance or that presentation or program?
      3             A.        I have not.
      4             Q.        Has DEA communicated to
      5    McKesson the importance of determining
      6    whether one of its pharmaceutical customers
      7    is obtaining controlled substances, not only
      8    from McKesson, but from other distributors at
      9    the time -- same time it's obtaining
     10    controlled substances from McKesson?
     11                       MR. STANNER:        Objection to the
     12             form.
     13                       THE WITNESS:        I'm not sure I
     14             understand your question.
     15    QUESTIONS BY MR. HAWAL:
     16             Q.        Has the DEA ever communicated
     17    to McKesson, to your knowledge, the
     18    importance of McKesson determining whether a
     19    pharmacy customer is receiving controlled
     20    substances from McKesson at the same time
     21    that it's receiving controlled substances
     22    from other distributors?
     23                       MS. MCCLURE:        Objection.
     24                       MR. STANNER:        Same objection.
     25                       THE WITNESS:        Not that I

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      1             recall, no.
      2    QUESTIONS BY MR. HAWAL:




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     11    QUESTIONS BY MR. HAWAL:
     12             Q.        For as long as you've been with
     13    the DEA and then an employee of McKesson, has
     14    the DEA consistently communicated to
     15    distributors, including McKesson, the
     16    importance of maintaining effective controls
     17    and procedures to guard against the diversion
     18    of controlled substances?
     19                       MR. STANNER:        Objection to the
     20             form.     Objection to the scope of the
     21             notice.
     22                       THE WITNESS:        I believe so,
     23             yes.
     24    QUESTIONS BY MR. HAWAL:
     25             Q.        Have you ever seen any written

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      1    communications from the DEA to McKesson or
      2    any distributor that it was not required to
      3    identify suspicious orders and report those
      4    suspicious orders to the DEA?
      5                       MR. STANNER:        Objection to the
      6             form.
      7                       THE WITNESS:        Not that I'm
      8             aware of.
      9    QUESTIONS BY MR. HAWAL:
     10             Q.        For as long as you've been with
     11    the DEA and then an employee of McKesson, has
     12    the FDA -- I'm sorry, the DEA consistently
     13    communicated to distributors, including
     14    McKesson, the importance of blocking
     15    suspicious orders that have been reported to
     16    the DEA and not shipping them to the
     17    customer?
     18                       MR. STANNER:        Objection to the
     19             form.
     20                       THE WITNESS:        I do not believe
     21             that they have -- that the DEA has
     22             consistently done that, no.
     23    QUESTIONS BY MR. HAWAL:
     24             Q.        Have you seen any documents
     25    that would be to the contrary that the DEA

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      1    advised McKesson or any distributor that if
      2    they identify a suspicious order, that it not
      3    only needs to be reported to the DEA, but the
      4    order must not be shipped?
      5                       MR. STANNER:        Objection to the
      6             form.
      7                       THE WITNESS:        I believe that
      8             one of the letters authored by Joseph
      9             Rannazzisi spoke to blocking the
     10             order.      I don't recall any other
     11             information.
     12    QUESTIONS BY MR. HAWAL:
     13             Q.        Well, if you look at the
     14    settlement agreement that McKesson entered
     15    into in 2008, that specifically provides that
     16    not only should suspicious orders be reported
     17    to the DEA, but they should not be shipped,
     18    true?
     19             A.        I believe that's the case, yes.
     20             Q.        Have you ever seen any
     21    documents from the DEA which endorsed or
     22    approved McKesson's controlled substance
     23    monitoring program, or CSMP, or how it should
     24    be implemented?
     25             A.        The DEA?

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      1             Q.        Yes, sir.
      2             A.        Not that I'm aware of, no.
      3             Q.        That discretion is left to
      4    the -- is left to McKesson or was left to
      5    McKesson, true?
      6                       MR. STANNER:        Objection to the
      7             form.
      8    QUESTIONS BY MR. HAWAL:
      9             Q.        By the DEA?
     10             A.        I believe that's the case, yes.
     11             Q.        Have you ever seen any document
     12    whereby McKesson communicated to the DEA that
     13    it was incapable of identifying suspicious
     14    orders or stopping their shipment?
     15             A.        Not that I recall, no.
     16             Q.        You were also identified as a
     17    person most knowledgeable at McKesson about
     18    controlled substance quotas, but we were told
     19    that McKesson has no documents relating to
     20    controlled substance quotas and does not set
     21    quotas.
     22                       Is that familiar to you, sir?
     23                       MR. STANNER:        Objection --
     24                       THE WITNESS:        It's familiar to
     25             me, yes.

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      1                       MR. STANNER:        -- to the form.
      2    QUESTIONS BY MR. HAWAL:
      3             Q.        So is there any role -- does
      4    McKesson play any role in setting quotas or
      5    contributing to the establishment of quotas
      6    for controlled substances?
      7                       MR. STANNER:        Objection to the
      8             form.
      9                       THE WITNESS:        The Drug
     10             Enforcement Administration sets the
     11             quotas.
     12    QUESTIONS BY MR. HAWAL:
     13             Q.        All right.       And McKesson and
     14    other distributors do not play a role in
     15    that?
     16             A.        The only role that we would
     17    play is the ARCOS reporting, the data that we
     18    report via ARCOS, which is considered as part
     19    of the DEA determination when setting the
     20    quotas.       That would be the only role that we
     21    would play.
     22                       MR. HAWAL:       All right.        I don't
     23             have any further questions.               We are
     24             going to reserve our right to reopen
     25             this deposition once McKesson complies

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      1             with the Special Master's order on
      2             providing documents that predate 2013,
      3             which have not been produced as a part
      4             of the productions to date.
      5                       So subject to that, we're going
      6             to suspend the deposition.               Okay.
      7                       MR. STANNER:        No questions for
      8             McKesson.
      9                       MR. HAWAL:       And I will
     10             substitute a copy of that document,
     11             Exhibit 6.
     12                       VIDEOGRAPHER:         Anyone else?
     13             The time is 10:57 a.m., July 19, 2018,
     14             going off the record.            End of the
     15             videotaped deposition.
     16          (Deposition concluded at 10:57 a.m.)
     17                          – – – – – – –
     18

     19

     20

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      1                              CERTIFICATE
      2
      3                I, CARRIE A. CAMPBELL, Registered
            Diplomate Reporter, Certified Realtime
      4     Reporter and Certified Shorthand Reporter, do
            hereby certify that prior to the commencement
      5     of the examination, Gary Boggs was duly sworn
            by me to testify to the truth, the whole
      6     truth and nothing but the truth.
      7                I DO FURTHER CERTIFY that the
            foregoing is a verbatim transcript of the
      8     testimony as taken stenographically by and
            before me at the time, place and on the date
      9     hereinbefore set forth, to the best of my
            ability.
     10
                       I DO FURTHER CERTIFY that I am
     11     neither a relative nor employee nor attorney
            nor counsel of any of the parties to this
     12     action, and that I am neither a relative nor
            employee of such attorney or counsel, and
     13     that I am not financially interested in the
            action.
     14
     15
     16
                     ____________________________
     17              CARRIE A. CAMPBELL,
                     NCRA Registered Diplomate Reporter
     18              Certified Realtime Reporter
                     California Certified Shorthand
     19              Reporter #13921
                     Missouri Certified Court Reporter #859
     20              Illinois Certified Shorthand Reporter
                     #084-004229
     21              Texas Certified Shorthand Reporter #9328
                     Kansas Certified Court Reporter #1715
     22              Notary Public
     23              Dated: July 24, 2018
     24
     25

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      1                     INSTRUCTIONS TO WITNESS
      2

      3                     Please read your deposition over
      4     carefully and make any necessary corrections.
      5     You should state the reason in the
      6     appropriate space on the errata sheet for any
      7     corrections that are made.
      8                     After doing so, please sign the
      9     errata sheet and date it.              You are signing
     10     same subject to the changes you have noted on
     11     the errata sheet, which will be attached to
     12     your deposition.
     13                     It is imperative that you return
     14     the original errata sheet to the deposing
     15     attorney within thirty (30) days of receipt
     16     of the deposition transcript by you.                   If you
     17     fail to do so, the deposition transcript may
     18     be deemed to be accurate and may be used in
     19     court.
     20

     21

     22

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     24

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      1                  ACKNOWLEDGMENT OF DEPONENT
      2
      3
      4                        I,______________________, do
            hereby certify that I have read the foregoing
      5     pages and that the same is a correct
            transcription of the answers given by me to
      6     the questions therein propounded, except for
            the corrections or changes in form or
      7     substance, if any, noted in the attached
            Errata Sheet.
      8
      9
     10
     11
     12     ________________________________________
            Gary L. Boggs                                       DATE
     13
     14
     15     Subscribed and sworn to before me this
     16     _______ day of _______________, 20 _____.
     17     My commission expires: _______________
     18
     19     Notary Public
     20
     21
     22
     23
     24
     25

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      1                            – – – – – – –
                                         ERRATA
      2                            – – – – – – –
      3      PAGE      LINE     CHANGE/REASON
      4      ____      ____     _____________________________
      5      ____      ____     _____________________________
      6      ____      ____     _____________________________
      7      ____      ____     _____________________________
      8      ____      ____     _____________________________
      9      ____      ____     _____________________________
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     24      ____      ____     _____________________________
     25

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      1                            – – – – – – –
                                   LAWYER'S NOTES
      2                            – – – – – – –
      3      PAGE      LINE
      4      ____      ____     _____________________________
      5      ____      ____     _____________________________
      6      ____      ____     _____________________________
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     16      ____      ____     _____________________________
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     18      ____      ____     _____________________________
     19      ____      ____     _____________________________
     20      ____      ____     _____________________________
     21      ____      ____     _____________________________
     22      ____      ____     _____________________________
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     24      ____      ____     _____________________________
     25

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